Case 19-17834-mdc          Doc 47    Filed 04/08/22 Entered 04/11/22 07:40:53            Desc Main
                                     Document Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In re:                                         :       Chapter 13
                                               :
         Raymond G. Wolf, Sr.                  :       No. 19-17834-MDC
                    Debtor                     :

                                           ORDER

        AND NOW, this __________8th                                     April
                                         day of ____________________________________           2022,
upon consideration of the Motion to Sell Real Property filed by debtor, notice to all interested
parties, the filing of any response thereto, and after a hearing before the Court and for good
cause shown, it is hereby

        ORDERED, that debtor is authorized to sell his/her real property located at 2602 Dudley
Street, Philadelphia, PA 19145 (“Property”), for the sale price of $206,000.00 (two hundred six
thousand dollars), pursuant to the terms of a certain real estate agreement of sale dated as of
January 7, 2022, to the buyer(s) thereunder, Phuong Vo (“Buyer”), who have been represented to
be purchasing the Property at arms-length.

       The proceeds of the sale, including any funds held as a deposit made by or on behalf of
the Buyer, shall be distributed substantially in the following manner:

1.       Ordinary and reasonable settlement costs, including,
         but not limited to those related to notary services, deed
         preparation, disbursements, express shipping, surveys,
         municipal certifications, or any other such routine matters

                Transfer Tax (2.140%)                                                     $4,408.40
                Municipal Use and Occupancy                                                 $125.00
                Notary                                                                       $35.00
                Broker Fee                                                                  $390.00
                Certificate of Resale                                                       $100.00
                Wire                                                                        $100.00

2.       First and Second Mortgage Liens to be paid in full at closing                 $172,600.00


3.       Real estate taxes, sewer, trash and/or other such items, if any

4.       Property repairs, if any

5.       Real estate commission, at no greater than 6%                                   $12,360.00

                                             Page 1 of 2
Case 19-17834-mdc        Doc 47     Filed 04/08/22 Entered 04/11/22 07:40:53             Desc Main
                                    Document Page 2 of 2




6.     Attorneys’ fees, if any                                                              $500.00

7.     U.S Court Filing Fees                                                                $189.00

7.     Any small (less than $300) allowances agreed to be made
       to Buyer to settle any unforeseen dispute arising at settlement

8.     Other - Municipal Tax Credit to Seller                                             $1,755.96

               TOTAL Out of pocket from seller                                          $189,051.04


        After paying all liens and all costs of sale, the title clerk shall pay to Kenneth E. West,
Chapter 13 standing trustee, the balance remaining after the Debtors/Sellers have received their
exemption up to $25,150 from their portion of the sale proceeds. Any additional proceeds
remaining after all claims are satisfied shall be returned to the Debtors/Sellers by the Trustee.
Any secured creditors paid by the sale shall withdraw or amend their proof of claim. Debtor
shall amend his plan, consistent with this Order and sale of the property, if necessary.



         The title clerk shall fax a completed HUD-1 or settlement sheet from the closing directly
to the trustee immediately upon the close of the settlement, and the trustee shall promptly notify
the title company of his approval or objections to the sums to be disbursed.



        Upon trustee approval, the title clerk shall fax a copy of the disbursement check to the
trustee, and shall immediately transmit the actual disbursement check to the trustee by overnight
courier. Per Bankruptcy Rule 6004(h), the 14 day stay as to effect of this Order is hereby waived.


                                                      BY THE COURT




                                                      ____________________________________
                                                      MAGDELINE D. COLEMAN
                                                      CHIEF U.S. BANKRUPTCY JUDGE




                                            Page 2 of 2
